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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                           )
SHALONYA KYLE,                             )
                                           )
              Plaintiff,                   )
                                           )
      v.                                   )      Civil Action No. 12-cv-1572 (KBJ)
                                           )
DUNCAN BEDLION, et al.,                    )
                                           )
              Defendants.                  )
                                           )

                       MEMORANDUM OPINION AND ORDER

       On November 6, 2014, the parties appeared before this Court for a motion

hearing regarding Defendants’ Motion for Partial Summary Judgment. (ECF No. 38.)

At the hearing, defense counsel acknowledged that resolution of this motion turns, in

large part, on whether Defendant Bedlion—a Metropolitan Police Department (“MPD”)

sergeant—had probable cause to arrest Plaintiff. (See Mot. Hr’g Tr. at 24:4-7, 34:20-

23, 62:20-22, Nov. 6, 2014.) Defense counsel urged this Court to make a probable

cause determination based on the current record so that the Court might then rule on

whether all of the officers who have been sued in this matter are entitled to qualified

immunity or common law privilege with respect to Plaintiff’s various false arrest and

retaliatory arrest claims. (See id.; see also id. at 48:8-10 (Plaintiff’s counsel concedes

that “if Sergeant Bedlion had probable cause to arrest, then everybody had probable

cause”).) See also Dellums v. Powell, 566 F.2d 167, 175 (D.C. Cir. 1977) (explaining

that the central inquiry for common-law and constitutional false arrest claims is

“whether the arresting officer was justified in ordering the arrest of the plaintiff; if so,

the conduct of the arresting officer is privileged and the action fails”).
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       There is no dispute that determining whether or not probable cause existed for

Plaintiff’s arrest requires consideration of “‘the facts and circumstances within the

arresting officer’s knowledge, of which he had reasonably trustworthy information’” at

the time of the arrest. Amobi v. Dist. of Columbia Dep’t of Corr., 755 F.3d 980, 990

(D.C. Cir. 2014) (quoting Rucker v. United States, 455 A.2d 889, 891 (D.C. 1983)).

However, the present record in the instant case lacks sworn testimony of any kind from

Sergeant Bedlion, the MPD official who ordered Plaintiff’s arrest after discharging

pepper spray and allegedly pushing Plaintiff into a hot barbeque grill. Rather than

proffer such testimony, Defendants have asked this Court simply to adopt Plaintiff’s

version of the facts related to her arrest as true for the purpose of Defendants’ partial

summary judgment motion, and to rule on both probable cause and qualified immunity

based on those allegations of fact. (See, e.g., Mot. Hr’g Tr. at 13:12-14:6.)

       This Court declines to follow Defendants’ proposed course of action for at least

three reasons. First, the Court concludes that it cannot fairly assess the events in

question and Sergeant Bedlion’s knowledge of them—as an evaluation of probable

cause and a determination of the applicability of qualified immunity requires—without

Sergeant Bedlion’s sworn testimony regarding the facts and circumstances preceding

Plaintiff’s arrest. See Brown v. Fogle, 819 F. Supp. 2d 23, 29-30 (D.D.C. 2011)

(denying motion to dismiss without prejudice to refiling a “properly supported motion

for summary judgment” post discovery, where defendants had asserted qualified

immunity but had only provided an “unsworn narrative of the underlying events”); see

also Polk v. Dist. of Columbia, 121 F. Supp. 2d 56, 65 (D.D.C. 2000) (noting that

“[w]here . . . the applicability of qualified immunity turns on the facts known by the




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public officials at the time of the challenged conduct, and there is a genuine dispute

with respect to the existence of such facts or the defendants’ knowledge thereof, the

issue of qualified immunity is subject to determination by the factfinder at trial”

(internal quotation marks and citation omitted)). Indeed, Defendants have not pointed

to a single prior case in which a court in this district has dismissed a false arrest

complaint on qualified immunity grounds without considering officer testimony about

the events in question, and this Court is not aware of any.

          Second, in the context of Defendants’ previously filed motion to dismiss, this

Court has already construed the allegations in the instant amended complaint and

concluded that Plaintiff’s pleading does state claims for false and retaliatory arrest

notwithstanding Defendants’ prior assertions of privilege and qualified immunity. (See

Order on Defs.’ Partial Mot. to Dismiss, ECF No. 25). Defendants’ suggested approach

to resolving the pending partial motion for summary judgment would, in effect, permit

Defendants a second bite at the motion-to-dismiss apple. (See Mot. Hr’g Tr. at 39:20-

25 (Plaintiff’s counsel noting that “the Court has actually already ruled on this entire

motion” because Defendants had previously and unsuccessfully “made a motion to

dismiss in which they assumed as true all of the facts in our complaint”); see also

Defs.’ Mem. in Supp. of Defs.’ Partial Mot. to Dismiss Pl.’s Am. Compl., ECF No. 14,

at 15-18 (arguing that defendant officers who were involved in the underlying incident

“are entitled to qualified immunity” with respect to Plaintiff’s Fourth Amendment

claims).) 1

          Third, to the extent that Defendants contend that ruling on the issue of qualified

immunity before the parties engage in a full round of discovery is necessary to protect
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    Page numbers refer to those assigned by the Court’s electronic filing system.


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immune police officers “not only from liability but from the rigors of the discovery

process” (Mot. Hr’g Tr. at 5:22-23), this Court notes that there will be no such savings

in the instant case in any event: Defendants have chosen to file only a partial motion

for summary judgment such that certain claims against Sergeant Bedlion remain, and at

the hearing, defense counsel conceded both that discovery should now proceed with

respect to Sergeant Bedlion (see id. at 64:10-17) and that Plaintiff may “depose other

witnesses” in the course of that discovery (id. at 64:20-21). This means that the other

MPD officers who have been named as defendants in the instant case likely will be

deposed as witnesses with respect to this matter even if this Court were to find that they

themselves are entitled to qualified immunity in the context of the pending partial

motion for summary judgment, such that allowing the parties to engage in a full round

of discovery before this Court rules on the qualified immunity question will place little

additional burden on Defendants. Furthermore, it is clear to this Court that any

additional burden on the officers is significantly outweighed by the substantial interest

that this Court and the parties have in establishing the facts that were known to

Defendants at the time of Plaintiff’s arrest. Cf. Kartseva v. Dep’t of State, 37 F.3d

1524, 1530 n.21 (D.C. Cir. 1994) (finding “no harm in postponing [qualified immunity]

decision” with respect to plaintiff’s Bivens claims until after discovery on plaintiff’s

related Administrative Procedure Act claim “unearthed the relevant facts”).

       In sum, the issue that is properly before this Court at present is whether, based

on the record evidence, Defendants are entitled to some form of immunity or privilege

that shields them from liability for Plaintiff’s claims, and this Court believes that a fair

assessment of this issue requires an examination of the full panoply of facts known to




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the police officers at the time of the allegedly abusive and retaliatory arrest. See

Brown, 819 F. Supp. 2d at 29 (defendants’ “unsworn narrative of the underlying events

cannot be considered as evidence” of their purportedly reasonable conduct (internal

citation omitted)). As a result, this Court concludes that the parties must engage in

discovery proceedings at this point in the litigation—prior to, and in furtherance of, a

ruling on qualified immunity—and they should proceed to discovery with respect to all

of Plaintiff’s claims, despite the fact that not all of the counts that Defendants challenge

in their motion for partial summary judgment turn on probable cause. (Compare Am.

Compl., ECF No. 13, ¶¶ 96-101 (False Arrest), 158-166 (Fourth Amendment), 169-177

(First Amendment), with id. ¶¶ 102-110 (Assault and Battery), 111-137 (Negligence),

138-148 (Abuse of Process), 149-157 (Defamation).) The remaining claims in this

action are also largely fact-bound and are thus properly subject to discovery prior to a

motion for summary judgment. See, e.g., Dormu v. Dist. of Columbia, 795 F. Supp. 2d

7, 29 (D.D.C. 2011) (noting that certain negligence claims require expert testimony in

order “to establish the applicable standard of care”). Moreover, this Court finds that it

would be inefficient and impractical to address the counts that do not require an

assessment of probable cause separate and apart from the core allegations and defenses

in this case, especially when doing so would not result in the dismissal of any

Defendants as a matter of law.

       Therefore, it is hereby

       ORDERED that the STAY that this Court previously imposed regarding the

discovery period in this matter (Minute Order of Aug. 29, 2014) is LIFTED, and the

parties shall engage in a 100-day period of fact and expert discovery between today’s




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date and February 20, 2015. In this regard, the parties’ [39] Joint Motion for a New

Scheduling Order is GRANTED, and the deadlines for expert designations and

discovery that that motion proposes are adopted. Accordingly, proponent’s expert

designations shall be due January 12, 2015, and opposition expert designations shall be

due January 27, 2015. It is

      FURTHER ORDERED that Defendants’ [38] Motion for Partial Summary

Judgment is DENIED WITHOUT PREJUDICE to filing a new dispositive motion

after discovery concludes. It is

      FURTHER ORDERED that the parties shall appear before this Court on March

5, 2015, at 10:00am in Courtroom 17, for a post-discovery scheduling conference. At

that conference, the parties should be prepared to discuss whether a renewed period of

mediation should commence, or whether a renewed briefing schedule for dispositive

motions should be set.

DATE: November 12, 2014                        Ketanji Brown Jackson
                                               KETANJI BROWN JACKSON
                                               United States District Judge




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